Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 1 of 23

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 05-cv-00377-WDM-BNB

MOISES CARRANZA-REYES,
Plaintiff,

V.

THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;

FRED WEGENER, individually and in his capacity as sheriff of Park County, Colorado;
MONTE GORE, individually and in his capacity as captain of Park County Sheriff's
Department; and

VICKI PAULSEN, individually and in her official capacity as registered nurse for Park County,
Colorado,

Defendants.

 

DEFENDANT VICKI PAULSEN’S REPLY IN SUPPORT
OF MOTION FOR SUMMARY JUDGMENT

 

Defendant Vicki Paulsen (“Paulsen” or “Nurse Paulsen”), by and through her counsel,

respectfully submits her Reply Brief in Support of Motion for Summary Judgment as follows:
I, INTRODUCTION

Plaintiff's Response to Defendant Vicki Paulsen’s Motion for Summary Judgment
(“Plaintiffs Response”) fails to demonstrate that any genuine issue of material fact exists
warranting a trial on his 42 U.S.C. § 1983 claim against Nurse Paulsen. While Plaintiff states
that he disputes several of Paulsen’s material facts, Plaintiff fails to cite any record evidence to
support his broad-brush denials. Plaintiffs failure to specify any evidence showing that the facts

that he disputes are actually in dispute warrants entering summary judgment in favor of Paulsen.

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 2 of 23

Il. STATEMENT REGARDING PLAINTIFE’S
UNSUPPORTED DENIALS OF MATERIAL FACTS

Contrary to this Court’s practice standards, Plaintiff does not respond individually to
Nurse Paulsen’s enumerated Statement of Undisputed Material Facts (‘“Paulsen’s Facts”).
Instead, Plaintiff simply states that he disputes 29 paragraphs of Paulsen’s Facts with no
explanation of whether his disagreement rests on actual evidence. Specifically, Plaintiff disputes
{4 6, 16, 20, 21, 28-31, 35, 38-40, 45-55, 57, 58, 62, 65, and 66 of Paulsen’s Facts. (See PI.’s
Resp. at 2). Plaintiffs Response fails to address head-on any of these facts, however, and
instead sets forth his own statement of facts, many that are duplicative and repetitive of Paulsen’s
facts. (See Pl.’s Statement of Disputed and Undisputed Material Facts Which Support Pl.’s
Claim for Relief [hereinafter “Plaintiffs Facts”’], at Pl.’s Resp., pp. 1-20).

A careful comparison of Plaintiffs Facts and Paulsen’s Facts reveals that, despite
Plaintiff's assertions to the contrary, the evidence is not in dispute on several key facts
concerning Plaintiff's § 1983 claim against Nurse Paulsen, Because Plaintiff failed to identify
any basis for his denials, this section of Paulsen’s Reply compares the facts that he presents as
undisputed with Paulsen’s Facts to determine whether any disputed issues actually exist. As
detailed below, there are no genuine disputes on the following key facts:

Plaintiff’s Prior Requests for Medical Attention

Although Plaintiff disputes that Paulsen was unaware that he wanted to see her prior to
March 6, 2003, there are no facts supporting his position. (See Paulsen’s Facts, at | 16; Pl.’s

Resp. to County Mot. for $.J., at {jf 53-58)).| Even though Plaintiff testified that he requested to

 

Because Plaintiff's Response to Paulsen’s Motion for Summary Judgment cross-

references and relies on facts presented in his Response to the Park County Defendants’ Motion for

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 3 of 23

see the nurse on March 4, 2003, when he began feeling ill, he admits she was not at work due to
oral surgery that date and that deputies denied his request. (PI.’s Resp. to County Mot. for S$.J.,
at (53-58). In addition, although Plaintiff testified that he wanted to see Paulsen on March 5,
2003, he concedes he was not able to get to the pod door in time to catch her on her medication
rounds and that, although other detainees shouted at her that there were sick people in the pod
upstairs, these shouts were in Spanish and he does not know if she heard them. (See id. at | 58,
60 (citing Plaintiffs Depo., at 274-275, PL.’s Exh, 8 and Paulsen’s A-16 attached hereto)).

The March 6 and 7, 2003 Exams

 

In addition, despite Plaintiffs broad-brush denial, no evidence disputes Paulsen’s
testimony that following her examination of him on March 6, 2003, she “didn’t feel that what
was going on with him was anything major.” (See Paulsen’s Facts, at {] 20; Pl.’s Resp. to County
Mot. for S.J., at {J 64-65). Likewise, a comparison of Plaintiff's Facts with Paulsen’s Facts
shows it is undisputed that Paulsen determined, after examining Plaintiff on March 7, 2003, that
his symptoms did not indicate a condition that warranted a call to Dr. Bachman. (See Paulsen’s
Facts, at 4] 28; Pl.’s Resp. to County Mot. for S.J., at { 66).

Nurse Paulsen’s Contacts with the Jail and Plaintiff on March 8, 2003

Additionally, contrary to Plaintiff's vague denial of this fact, no evidence disputes that
Deputy Fikejs informed Paulsen, at approximately 3:00 to 3:45 a.m. on March 8, 2003, that
Plaintiff had complained of shortness of breath, nausea and vomiting, but that he received

oxygen and was feeling better. (See Paulsen’s Facts, {| 38; Pl.’s Resp. to County Mot. for S.J., at

 

Summary Judgment, this Reply cites facts contained in both Plamtiff’s Response to her Motion and in his
Response to the County Defendants’ Motion. For clarity, Paulsen cites Plaintiff's Response to the County
Defendants’ Motion as “PI.’s Resp. to County Mot. for S.J.,” whereas she refers to Plaintiff's Response to
her motion simply as “Plaintiffs Response” and to the facts cited in that response as “Plaintiff's Facts.”

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 4 of 23

{| 68-69).” Plaintiff cites no evidence to support his denial of 4 39 of Paulsen’s Facts, which
states that Paulsen left instructions for deputies to give Plaintiff Motrin 800mg and Pepto
Bismol, and to contact her if Plaintiffs condition changed. (See Paulsen’s Facts, at ] 39; Pl.’s
Resp. to County Mot. for $.J., at ff] 68-69).

Further, despite Plaintiff's denial of the following facts, a comparison of his facts and
Paulsen’s Facts shows they are not genuinely in dispute. Plaintiff offers no evidence countering
Paulsen’s testimony that she called the Jail shortly before 6:00 a.m. to check on Plaintiff's
condition, and was told that he was resting and used the bathroom once. (See Paulsen’s Facts, at
| 40; Pl.’s Resp. to County Mot. for S.J., at §f] 69-72). Plaintiff also provides no evidence
disputing Paulsen’s testimony that shortly after she arrived at the Jail at approximately 8:00 a.m.,
she went to assess Plaintiff in the pod, and Plaintiff complained of pain in his kidney area
radiating to his groin. (See Paulsen’s Facts, at {| 43, Pl.’s Resp. to County Mot. for S.J., at 4] 72).

Similarly, although Plaintiff disputes the following facts, Plaintiff fails to back any of his
broad denials with evidence; thus, the following facts are not genuinely in dispute: Nurse
Paulsen determined, after seeing Plaintiff around 8:00 a.m., that he should be evaluated by a
physician; Plaintiff had to go to the hospital for such evaluation due to Dr. Bachman’s absence
from his office that date; Paulsen did not believe Plaintiff was in need of emergency medical care
or that an ambulance was necessary to transport Plaintiff, Corporal Crawford told Paulsen that
the Jail had to get permission from INS before transporting Plaintiff; Paulsen called Ben Baca of

the INS to relay Plaintiff's symptoms and to tell him that she believed Plaintiff should be

 

, As the County Defendants point out in their Reply Brief, Deputy Frye did not call

Paulsen. The record shows that Deputy Fikejs called Nurse Paulsen to relay to her what Deputy Frye had
relayed to him regarding Plaintiff. (See Park County’s Reply Brief, at { 68).

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 5 of 23

transported to see a physician; and Baca told Paulsen that INS would do the transport, that it
would take up to three hours for INS to arrive at the Jail, but that Park County deputies could
transport earlier than that if Plaintiff's condition worsened. (See Paulsen’s Facts, at qf 45-50;
Pl.’s Resp. to County Mot. for S.J., at {| 75, 77). Paulsen testified that she believed, after
speaking with Baca, that a transport officer from INS would be arriving within three hours, that
Jail staff would notify her if Plaintiffs condition worsened and transport Plaintiff before then if
his condition worsened, and that it was not necessary for her to stay with Plaintiff until the
transport arrived because she considered Plaintiff's condition non-emergent. (See Paulsen’s
Facts, at {| 52-55; Pl.’s Resp. to County Mot. for S.J., at { 79).

By failing to produce any controverting evidence, Plaintiff admits that Paulsen called in
to check whether he had been transported at 11:00 a.m., which is almost three hours after she
called Baca, and that, after being told that Plaintiff had not been transported yet and that the
facility had not heard from INS, she instructed Corporal Crawford to go ahead and transport
Plaintiff, (See Paulsen’s Facts, at | 58; Pl.’s Resp. to County Mot. for S.J., at { 79).

Plaintiff’s Examination at Summit Medical Center

Plaintiff provides no evidence to dispute { 62 of Paulsen’s Facts, which states that Dr.
Keeling saw no evidence of a strep infection in Plaintiff's throat when he arrived at Summit
Medical Center. (Paulsen’s Facts, at {| 62 (citing Dr. Keeling’s testimony); PI.’s Resp. to County
Mot. for S.J., at §§ 83-86 (detailing events at Summit Medical Center and not refuting Dr.
Keeling’s testimony)). Likewise, the facts are undisputed that Dr. Keeling decided to transport
him by ambulance without lights and sirens (as opposed to helicopter), and that Dr. Keeling

testified that Plaintiff's symptoms were consistent with many conditions, not just sepsis and

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 6 of 23

pneumonia. (Paulsen’s Facts, at {{] 65-66; Pl.’s Resp. to County Mot. for S.J., at 4] 89). In sum,
although Plaintiff disputed several key facts presented by Paulsen, a comparison of Plaintiffs
and Paulsen’s facts shows that the large majority of these facts are not actually in dispute.

I. REPLY CONCERNING ADDITIONAL DISPUTED OR UNDISPUTED FACTS

Paulsen admits that Plaintiff’s characterization of the deposition testimony and evidence
in the following paragraphs is generally correct, and therefore these facts are undisputed for
purposes of summary judgment: ff 2-7, 9-10, 12, 18-20, 22-23, 30-31, 33, 38, 40-42, 45-46, 56,
57, 58-59, 61° In addition, in response to the paragraphs in Plaintiffs Response in which he
incorporates and relies on paragraphs contained in his Response to the County Defendant’s
Motion for Summary Judgment, Paulsen incorporates by reference the reply to those paragraphs
contained in Park County’s Reply Brief in Support of Motion for Summary Judgment (“County
Reply Brief’. Thus, in response to {| 1, 21, 26, 39, 47-52, and 62 of Plaintiff's Facts, Paulsen
incorporates by reference §{] 1-152 of the County Reply Brief.

The remaining paragraphs of Plaintiffs Facts are addressed in numbered paragraphs
corresponding to the numbered paragraphs of Plaintiff's Facts.

8. Paulsen denies the characterization of her testimony in 8. When asked if, when
she saw more than thirty detainees housed in the pod, she discussed “overcrowding” with
anyone, Paulsen testified that she said to Cpl. Crawford and Sgt. Muldoon “how long are they
going to be there, is INS picking up, they're -- it's not a good thing to have that many people in

there.” (Paulsen Depo., at 45, Pl.’s Exh. 1 and Paulsen’s A-17 attached hereto).

 

, Paulsen’s admission of facts for the sole purpose of summary judgment is not a waiver of

her right to contest any of these facts in further proceedings in this matter, including at trial.

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 7 of 23

11. Paulsen admits she testified that she had some concerns about the enforcement of
general policies and procedures at the Park County Jail and the continuity of care provided to
inmates. (Id. at 198-200, Pl.’s Exh. 1). Paulsen did not testify that the jail “needed another nurse
for continuity of care.” Instead, Paulsen said she thought it “would have been better” for
continuity of care if there was a nurse at the jail when she was away and agreed that having an
extra nurse would reduce the risk of anything falling through the cracks. (Id.).

13-16. Paulsen admits that Bellantonio so testified. His testimony is not relevant to the
claims against her, however, and he lacked foundation to provide that testimony. (See
Bellantonio Depo., at 30-31, PI.’s Exh. 2 and Paulsen’s A-18 attached hereto).

17. Nurse Paulsen admits Bellantonio testified that when he conducted shakedowns of
pods, it was common to find tissue stuffed under and about inmates’ mattresses. (See id. at 44),
Bellantonio did not specify when this occurred, however, (See id.).

24, Paulsen disputes 4 24 of Plaintiff's Facts. Bellantonio did not testify that he told
the INS he believed the conditions were substandard and the jail was overcrowded. (See
Bellantonio Depo., at 133-136, Pl.’s Exh. 2). Bellantonio testified that he made several “off the
cuff? comments to INS employees commiserating about the volume of detainees that both the
INS employees and he had to deal with. (Id. at 135-136).

25. Paulsen denies Bellantonio testified Sgt. Flint was aware of “substandard”
conditions. Bellantonio testified that he talked with Sgt. Flint about the deputies’ needs and
stress level, Jail conditions, and although he never used the term “substandard,” believes he

“made ... the general meaning of that clear to him.” (id, at 144). Bellantonio said he talked with

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 8 of 23

Set. Muldoon matters such as “[w]e got way too many people in this pod; we need sheets, we
need -- would you get hold of Jim and get the damn heating fixed.” (Id, at 145-146).

97. Paulsen denies the conclusion in ] 27 that she was “obligated to transfer any
inmate needing medical attention without even calling the INS.” Captain Gore did not testify to
that, Instead, he testified that in the context of a medical emergency, staff could transport a
detainee without obtaining the permission of the INS. (See Gore Depo., at 119, PI.’s Exh. 3 and
Paulsen’s A-19 attached hereto),

28 Paulsen denies the characterization of her testimony. Paulsen testified that while
she had the authority to order transports, she was still required to make non-emergency transport
arrangements with security. (See Paulsen Depo., at 38-39, PI.’s Exh. 1 and Paulsen’s A-17).

29. Paulsen admits that she so testified but emphasizes that this testimony was in
relation to transports via ambulance. (See id, at 39-40).

32. Paulsen disputes the characterization of her testimony. Specifically, Paulsen
denies “admitting” that the “INS did not refuse to allow the transport of Plaintiff, unless his
condition got worse.” (See id. at 221-222). To the contrary, Paulsen testified that an INS
employee told her that they would transport Plaintiff, but it would take them up to three hours to
have an officer there to do the transport. She also testified that she understood, at the time she
left the Jail on March 8, that transport arrangements were in process. (d.).

34, Paulsen disputes the characterization of her testimony. In her deposition, counsel
asked Paulsen whether she had an explanation for the delay in transport, and she stated,
following an objection to question, that she did not. (See id. at 206-207). Paulsen testified at

length in other portions of her deposition, which are not cited by Plaintiff, however, regarding

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 9 of 23

the events that occurred between 8 and 11 am. on March 8, 2003, and the reasons for her
actions. (See Def. Vicki Paulsen’s Brief in Support of Mot. S.J., at {if 43-58).

36. Paulsen disputes ] 36 as incomplete and misleading. Paulsen explained that, with
the benefit of hindsight and the knowledge of Plaintiff’s ultimate outcome that she presently has,
she feels it was an error on her part to leave Plaintiff and return home the morning of March 8,
2003. (See Paulsen Depo., at 222-223, Pl.’s Exh, 1 and Paulsen’s A-17). Paulsen testified,
however, that at the time, given the symptoms Plaintiff presented to her, she felt that Plaintiff
was comfortable, that transport arrangements were in progress, and that she did not need to stay
with him until he was transported. (See id. at 222:20 to 223:2),

37. Disputed. Paulsen created her notes contemporaneously with the events that
occurred; the notes were made by 2:30 p.m. on the same date as the events. (See id. at 129-130,
Pl.’s Exh. 1; See also Pl.’s Exh. 5). There is no support for Plaintiff's speculation that Paulsen’s
notes were “authored to explain Paulsen’s conduct that day.”

40. Paulsen disputes the characterization of her testimony in 40. Paulsen agreed
that the Summit Medical Center triage assessment stated that Plaintiff complained he had right-
sided chest pain for 3 days. (Id, at 137). Paulsen also testified, however, that she was never
made aware of this pain while Plaintiff was at the jail, and that such pain could “possibly” be
consistent with pneumonia in the right lung and accumulation of fluid in the right lung. (1d.).

43, Paulsen admits she charted abdominal tenderness on March 6 and 7, but denies
that she testified this signified sepsis to her at the time. To the contrary, Paulsen testified that

abdominal pain can indicate a number of things, one of which is sepsis. (Id. at 138).

 

‘ Notably, while Plaintiffs Response disputes {{] 43-55 and 4 57-58, Plaintiff provides no
countervailing evidence showing that any such disputed issues exist.

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 10 of 23

44, Disputed. Paulsen testified that gram-positive cocci in chains in the bloodstream
would indicate septicemia. (Id. at 141). Paulsen did not state that Plaintiff had pneumonia and
septicemia on arrival at Summit Medical Center. (See id.).

53-54. Denied, Paulsen testified that she did not understand that she was serving as the
health service administrator and did not know who the health service administrator for the jail
was. (See Paulsen Depo., at 184-186, Pl.’s Exh. 1 and Paulsen’s A-17).

55. Denied. Paulsen testified that she asked why the committees did not exist, but did
not receive an answer. (See id. at 187-188).

60. Paulsen admits she testified to this in relation to DOC facilities. (See Paulsen
Depo., at 23-24, Pl.’s Exh. | and Paulsen’s A-17).

63-98. Paragraphs 63-98 deal with the qualifications and opinions of Plaintiffs retained
nursing experts: Catherine Knox, R.N. and Anthony Volz, RN. As explained below in
Argument IV.A, infra, Knox’s and Volz’s opinions are inadmissible and irrelevant to the issues
before this Court on summary judgment. Thus, in response to §f/ 63-98 of Plaintiffs Facts,
Paulsen incorporates her argument in Argument IV.A, infra. In addition, Paulsen notes that the
exclusive evidentiary sources for the facts in {{/ 63-98 are the depositions of Knox and Volz,
even though some of those facts concern the actual events that occurred at the Park County Jail
in 2003, of which neither Knox nor Volz has personal knowledge. Because they lack personal
knowledge of those events, their testimony cannot serve as evidence of what occurred in 2003.
Indeed, Knox and Volz’s iteration of the events of 2003 at times deviates from what the evidence
showed actually transpired. (Compare Plaintiff's Facts at § 72 (citing Knox Depo., at 86-87

(testifying that Plaintiff complained of chest pains at 3 a.m, on March 8), with PL.’s Resp. to

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Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 11 of 23

County Mot. for S.J., at {| 68 (citing Jail records and Frye’s deposition testimony as evidence of
Plaintiff's presentation at 3:00 a.m., which notably includes no mention of chest pains)). °
IV. ARGUMENT

A. THE PROFERRED TESTIMONY OF PLAINTIFF’S NURSING EXPERTS IS
IRRELEVANT TO HIS 42 U.S.C. § 1983 CLAIM AND IS INADMISSIBLE.

Plaintiff's Response relies heavily on the opinions and testimony of his two nursing
experts, Knox and Volz. To the extent these experts opine that Paulsen knew of certain facts, or
that she acted with deliberate indifference, their testimony is inadmissible because it invades the
province of the jury. Further, even assuming arguendo that testimony on deliberate indifference
is admissible, Knox’s and Volz’s conclusions on this issue are irrelevant to the merits of
Plaintiff's 42 U.S.C. § 1983 claim because they rely on the wrong standard — i.¢., negligence.

This Court, in determining the absence of material undisputed facts, can only rely upon
the evidence whose content or substance would be admissible at trial. See F.R.C.P. 56(¢); Argo
y. Blue Cross and Blue Shield of Kansas, Inc., 452 F.3d 1193, 1199 ao" Cir. 2006). The
testimony of Knox and Volz on the ultimate issue of deliberate indifference is inadmissible under
FRE 702, Expert testimony on whether a defendant acted with deliberate indifference tells the
jury little more than what verdict to reach. See Woods v. Lecureux, 110 F.3d 1215, 1221 (6th
Cir. 1997). In Woods, an expert witness testified that he believed a defendant was deliberately
indifferent to a known risk of harm to the plaintiff. When the expert began to testify regarding
his definition of the terms “deliberately indifferent,” the court stopped his testimony. See id. at

1220-1221. In affirming the exclusion of the evidence, the Sixth Circuit stated the evidence was

 

° Paulsen intends to file a Daubert motion on Knox’s and Volz’s opinions in the near

future. Until and unless the Court finds the opinions admissible, they are not properly considered on
summary judgment.

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Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 12 of 23

properly excluded because it attempted to tell the jury what result to reach. See id. at £221. In
addition, the court noted that “whether a prison official acted with deliberate indifference
depends on that official’s state of mind, Thus, by expressing the opinion that [the defendant]
was deliberately indifferent, [the expert] gives the false impression that he knows the answer to
this inquiry, which depends on [the defendant’s] mental state.” Id. (cited with approval in
United States v. Wood, 207 F.3d 1222, 1236 n. 10 (10th Cir. 2000)).

Other courts reach similar conclusions. In Sellers vy. Butler, 2006 WL 2714274 (D. Kan.
Sept. 22, 2006), the plaintiff moved to exclude an expert’s testimony that he believed that none
of the medical providers was deliberately indifferent to the plaintiff's medical needs. The court
held such testimony was inadmissible under FRE 702, reasoning that such testimony would not
be helpful to the trier of fact and, instead, was effectively a legal conclusion “that encompasses
the entirety of plaintiff's burden of proof on an essential element of his claim.” Id. See also
Ledford v. Sullivan, 105 F.3d 354, 359 (7" Cir. 1997) (noting that, because deliberate
indifference is subjective, it “was not so complicated that an expert was required to establish [the
plaintiff's] case” because “whether the prison officials displayed deliberate indifference toward
[plaintiff's] serious medical needs did not demand that the jury consider probing, complex
questions concerning medical diagnosis and judgment”); Dukes v. Georgia, 428 F.Supp.2d 1298,
1315 (N.D. Ga. 2006) (refusing to admit the opinion of one of Plaintiff's experts in this case, Dr.
Greifinger, on deliberate indifference because “his stamp of approval on the Plaintiff's
contentions does nothing to advance a material aspect of Plaintiff's case”).

Similar to the expert opinions in these precedents, Knox’s and Volz’s conclusions

regarding deliberate indifference are no different than the arguments Plaintiff will advance in

12

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 13 of 23

closing argument and therefore are not admissible. Neither Knox nor Volz has any way of
determining Paulsen’s mental state, and allowing the admission of their opinions regarding
Paulsen’s mental state leaves the false impression that they know the answer to this inquiry.
Thus, just as in Woods and the other cases above, their opinions regarding Paulsen’s knowledge
and/or deliberate indifference are inadmissible and cannot be considered on summary judgment.

Further, even assuming arguendo that their testimony on deliberate indifference was
admissible, those opinions must be disregarded for yet another reason: both are based on an
incorrect standard for determining a violation of the Constitution and hence are unreliable under
FRE 702. Plaintiffs § 1983 claim requires a showing that Paulsen acted with deliberate
indifference to his serious medical needs. See Estelle v. Gamble, 429 U.S. 97, 104 (1976). A
person acts with deliberate indifference only if she “‘consciously disregard[s] a substantial risk
of serious harm.’” (P1.’s Resp., at 24 (citing Farmer v. Brennan, 511 U.S. 825, 837-838 (1994)).
As the Tenth Circuit explained, “Deliberate indifference requires more than a showing of simple
or heightened negligence.” Verdecia vy. Adams, 327 F.3d 1171, 1175 (10" Cir. 2003).

Knox’s understanding of deliberate indifference is based on an incorrect definition. In
her deposition, Knox explained her understanding of deliberate indifference as follows:

I believe that deliberate indifference is when a person, in this case a registered

nurse, had reason to know or knew of something that caused grave danger or the

potential for medical harm and did not act to either prevent the harm or to

mitigate the risk.
(Knox Depo., at 84, Paulsen’s A-20 attached hereto (emphasis added)). Knox’s reliance on a
“should have known” standard confuses deliberate indifference with negligence. As Farmer

made clear, though, deliberate indifference focuses on what a defendant’s knowledge was, not

what it should have been. Farmer, 511 U.S. at 838, 839. Thus, Knox’s opinion that Paulsen was

13

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 14 of 23

“deliberately indifferent” must be disregarded because it relies on a flawed understanding of
what that means. (See Plaintiffs Facts, at | 69 (citing Knox’s testimony that Paulsen was
deliberately indifferent); [| 71 (citing Knox to support the conclusion that Paulsen was
deliberately indifferent “because she knew, or had reason to know”); J 75 (same)).

With regard to Volz, he testified that he did not know what deliberate indifference was
and did not have an understanding of what was required to violate the Eighth or Fourteenth
Amendments, although he had read those amendments. (See Volz Depo., at 97-98, Paulsen’s A-
21 attached hereto). Thus, Plaintiff cannot rely on Voiz’s opinions that Paulsen violated the
Constitution because those opinions are not based on the correct standard.

Further, to the extent Volz and Knox opine on negligence, such opinions’ are entirely
irrelevant to the analysis of Plaintiff's § 1983 claim and should be disregarded by the Court. See
Verdecia, 327 F.3d at 1175. Most of the evidence cited from Plaintiff's experts deal only with
negligence, (See Plaintiff's Facts, at {{] 67, 69, 74 (all citing Knox to support the conclusion that
Paulsen was “negligent”); {| 71, 72, 75, 80 (all citing Knox to define Paulsen’s duties, what she
“should have known,” and what the symptoms “should have” suggested to her); {[] 82-83, 85, 87,
88, 90, 94, 96 (all citing Volz’s conclusion that Paulsen was either negligent or that she “should
have known” of certain facts)). None of these opinions regarding negligence or what Paulsen
“should have known” are relevant to the merits of Plaintiffs § 1983 claim against Paulsen.
Accordingly, none of these facts should be considered on summary judgment.

B. PLAINTIFF?S ARGUMENT REGARDING QUALIFIED IMMUNITY RELIES
ON INCORRECT FACTS AND IGNORES OTHER, UNDISPUTED FACTS.

Plaintiff's Response ignores several key facts that are undisputed and that demonstrate

Nurse Paulsen is entitled to qualified immunity from his § 1983 claim. Although the Court must

14

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 15 of 23

take the facts in the light most favorable to Plaintiff in ruling on Ms. Paulsen’s summary
judgment motion, this standard does not mean that facts that are not disputed by any admissible
evidence should be ignored simply to allow Plaintiffs claim to survive summary judgment.
Plaintiff's Response states that numerous facts are disputed, but fails to provide any
controverting evidence to generate a legitimate dispute. (See Section II, supra). Statements by
counsel in a brief are not sufficient to overcome summary judgment, however. Thomas_v.
Wichita Coca-Cola Bottling Co., 968 F.2d 1022, 1025 (10 Cir. 1992).

A. Plaintiff’s Response Ignores Undisputed Facts that Show Paulsen Did Not
Act with Deliberate Indifference.

When all of the undisputed facts are considered, even construing them in a light most
favorable to Plaintiff, there is insufficient evidence that Nurse Paulsen violated Plaintiff's
constitutional rights. Therefore, Plaintiff's claim fails for lack of a constitutional violation.

When the complete and accurate facts are evaluated, it is clear that Paulsen did not act
with deliberate indifference to Plaintiff's serious medical needs. In order to show deliberate
indifference, Nurse Paulsen had to understand that Plaintiffs condition posed a substantial risk
of harm. Garrett_v. Stratman, 254 F.3d 946, 949 co" Cir. 2001). The undisputed evidence
shows that Paulsen did not know that Plaintiff's vague symptoms were indicative of any serious
medical condition that required emergency treatment. Although Plaintiff argues that Paulsen
knew that his symptoms “were an indication of a strep infection and could also be the beginning
of a septic condition,” this ignores Paulsen’s testimony that she did not believe he had either
ailment because he had other symptoms that were vot consistent with strep or sepsis. Namely, he
did not have a temperature of over 101 degrees. (See Park County’s Reply Brief, at § 108).

Accordingly, although Paulsen agreed that Plaintiff had some symptoms that could, in some

15

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Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 16 of 23

circumstances, be “possible” signs of a strep infection or sepsis, she did not believe Plaintiff had
either condition due to other symptoms. (See id. (citing Paulsen Depo., at 83-84, Pl.’s Exh. |
and Paulsen’s A-17)).

There is simply no evidence creating a disputed issue regarding Paulsen’s subjective
belief. Indeed, other evidence is consistent with Paulsen’s testimony that she did not realize
strep was the cause of Plaintiff's slightly red throat or other symptoms. Dr. Keeling, the
physician who examined Plaintiff at Summit Medical Center, testified that Plaintiff’s throat did
not have exudate or other symptomology typically accompanied by strep. (See Paulsen’s Facts,
at | 62; Pl.’s Resp. to County Mot. for S.J., at ff] 83-86 (not refuting Dr. Keeling’s testimony)).
Additionally, even Knox agrees that a reasonable nurse in Paulsen’s position would not have had
enough information on March 6 or 7 to conclude that Plaintiff had strep or the onset of sepsis.
(See Knox Depo., at 59, 63-64 attached hereto as Paulsen’s A-20).° Accordingly, the evidence
fails to show Paulsen knew Plaintiff had either condition, or and that he was going to become
seriously ill. Simply put, there is insufficient evidence that Paulsen had the requisite mental state
to hoid her liable under § 1983.

Similarly, with regard to the early morning hours of March 8, 2003, there is no evidence
supporting Plaintiffs assertion that Plaintiff was “in critical condition” (Pl.’s Resp., at 21-22).
much less that Paulsen knew of and disregarded any such condition. The physician who

examined Plaintiff at Summit Medical Center found Plaintiff was rof in critical condition on his

 

6 Paulsen cites this portion of Knox’s testimony simply to demonstrate the extent to which

Plaintiff's Response deviates from the evidence — including the evidence Plaintiff seeks to offer from his
own expert witness. The citation of this testimony should not be misconstrued as implying that the
subjective component of deliberate indifference considers what a reasonable nurse should have known or
done. (See Argument IV.A., supra).

16

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 17 of 23

atrival to that facility. (See Keeling Depo, at 26, Paulsen’s A-22 attached hereto (stating that
Plaintiff was alert and cooperative and was not critical)). Further, the record evidence shows that
when Plaintiff arrived at Denver Health, the emergency room physician classified him as in
serious condition -- not in critical condition and “near death” as Plaintiff claims. (Compare
Markovchick Depo., at 28, Paulsen’s A-23 attached hereto, with P1.’s Resp., at 22). It was only
when Plaintiff suddenly deteriorated about an hour after his arrival that he was downgraded to
critical condition. (Markovchick Depo., at 28, Paulsen’s Exh. A-23). Thus, the evidence does
not support Plaintiffs assertion that he was critical at the Park County J ail or Summit Medical
Center, or even on his arrival to Denver Health. Moreover, Plaintiff provides no evidence
showing that Paulsen knew Plaintiff was critical at the Jail and intentionally disregarded it.

To the contrary, the evidence shows that Paulsen believed Plaintiff was stable and non-
emergent prior to his transport from the Jail. It is undisputed that Deputy Fikejs called Paulsen at
approximately 3:45 a.m. on March 8 and told her that Deputy Frye, who had training and
experience as a medical first responder, administered oxygen to Plaintiff for shortness of breath
and that Plaintiff was feeling better (See Paulsen’s Facts, { 38, Pl.’s Resp. to County Mot. for
SwJ., at ff] 68-69).’ Paulsen asked Deputy Fikejs if Frye had taken Plaintiff's blood pressure,
pulse and respiration and for a description of Plaintiff’s appearance. (See Paulsen Depo., at 95-
96, Paulsen A-17). Paulsen was told that Plaintiff’s vital signs were normal and stable, and she

instructed Deputy Fikejs to keep an eye on Plaintiff and call her if he became any worse than he

 

’ Although Deputy Frye testified that the oxygen did not make Plaintiff feel better, there is

no evidence this fact was ever communicated to Paulsen, To the contrary, her notes shows that she was
informed by Deputy Fikejs, who was relaying information to her for Deputy Frye, that the oxygen helped
Plaintiff. Neither Deputy Frye nor Deputy Fikejs contested these facts.

17

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 18 of 23

was at that time. (See id. at 97). There is no evidence showing that at that time, Paulsen knew
Plaintiff had any serious medical condition requiring immediate emergency intervention.

Although Plaintiff argues that it was obvious to a layperson that Plaintiff was a serious
condition requiring medical attention, the evidence on which Plaintiff relies does not support this
assertion. Plaintiff claims that Deputy Frye administered oxygen to Plaintiff at 3:00 a.m.
because even as a layperson, he recognized Plaintiff had an obvious need for emergency room
treatment, (Pl.’s Resp., at 25), This argument does not comport with the evidence. Instead,
Deputy Frye testified that he gave oxygen to Plaintiff because he thought, if Plaintiff was
suffering from altitude sickness, that oxygen may make Plaintiff more comfortable or feel better.
(Frye Depo., at 40, 72, Paulsen’s A-24 attached hereto), Deputy Frye did not testify that he
thought Plaintiff was in need of emergency medical intervention. Thus, contrary to Plaintiff s
argument, Frye, as a layperson, did not believe Plaintiff needed emergency treatment.

Further evidence bearing on Paulsen’s subjective mental state is that when she called the
Jail shortly before 6:00 a.m. to check on Plaintiff's condition, she was told that he was resting
and used the bathroom once. (See Paulsen’s Facts, at | 40; Pl.’s Resp. to County Mot. for S.J., at
{| 69-72). These facts show that during the early morning hours of March 8, Paulsen knew that
Plaintiff had a new symptom of shortness of breath, but that oxygen made him feel better; that
his vital signs were normal and stable; and that he was resting and used the bathroom once.

Later that morning, after seeing Plaintiff in the pod around 8:00 a.m., Paulsen determined
that he had something going on that required evaluation by a physician, but she did not feel that
he was in need of emergency medical care. While Paulsen testified that she preferred Plaintiff to

be transported earlier, she also testified that she believed he was stable and non-emergent, and

18

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 19 of 23

that an immediate transport was not necessary. (See id, at Paulsen’s Facts, at {[{] 52-55 (citing
Paulsen Depo., at 117, Paulsen’s Exh, A-1 and 17, and Paulsen Affidavit, Paulsen Exh. A-4)).

Because she did not believe Plaintiff was emergent, her actions of promptly arranging for
a transport, and waiting for one to occur, does not constitute reckless disregard of a substantial
risk of serious harm to Plaintiff. It is undisputed that Jail staff told Paulsen that they needed
permission from INS before they could transport Plaintiff, and Paulsen promptly called Baca of
the INS to inform him of Plaintiffs symptoms and to request permission for a transport. (See
id.}. Plaintiff provides no contravening evidence, and thereby admits, that Paulsen believed,
after speaking with Baca, that a transport officer from INS would be arriving within three hours,
that Jail staff would notify her if Plaintiff's condition worsened, in which case J ail staff could
transport. (See id, at [] 52-55; Pl.’s Resp. to County Mot. for S.J., at { 79). Thus, although in
hindsight Paulsen wishes she had stayed with Plaintiff pending his transport, at the time Paulsen
did not feel it was necessary for her to stay to monitor him until the transport team arrived. (Sce
Paulsen Depo., at 117, 221-223, Paulsen Exhs. A-1, A-17; Paulsen Affidavit, Exh. A-4, at | 8-
12). When Paulsen left the Jail, she understood that transport arrangements were in process, that
Plaintiff was stable, and that Jail staff would notify her of any worsening of his condition.

This testimony regarding Paulsen’s understanding is undisputed by any evidence and
shows that Paulsen did not act with deliberate indifference to Plaintiff's needs on March 8.
Further, there is no evidence that had she stayed with Plaintiff, the transport would have occurred
any sooner than it actually did.

The absence of deliberate indifference is further demonstrated by Paulsen’s actions later

that morning. Despite not having heard from deputies that Plaintiff's condition worsened,

19

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 20 of 23

approximately three hours after she spoke to Baca, Paulsen called in on her own initiative to
check on Plaintiff and to ensure that transport was in process. Upon learning that the transport
was not yet in process, and that Plaintiff was vomiting more frequently, Paulsen ordered that Jail
staff go ahead and transport Plaintiff to Summit Medical Center. (See Paulsen’s Facts, at {] 58;
Pl.’s Resp. to County Mot. for S.J., at 79). Again, there is no evidence that Plaintiff was in
“oritical condition” when he left the Jail, or that Paulsen knowingly disregarded a substantial risk
of serious harm to Plaintiff by ordering a regular transport rather than an ambulance transport.

The facts here are strikingly similar to the facts in Self v. Crum, 439 F.3d 1227 qo" Cir.
2006), in which the court found there was no violation of the Eighth Amendment. As explained
in detail in Paulsen’s summary judgment brief, the medical providers in Self, like Paulsen., were
confronted with vague symptoms that were consistent with a variety of conditions, some of
which were benign such as a respiratory infection. Id. at 1234. In Self, the court stated that the
mere possibility that the symptoms could also point to serious medical conditions was not
sufficient to create an inference of deliberate indifference. Id. While the “failure to connect the
dots” may create a fact issue on the issue of negligence, it was not enough to create an inference
of deliberate indifference. Id. at 1235.

Likewise, construing the facts here in the light most favorable to Plaintiff, at best there is
a fact issue on medical negligence. The evidence does not reasonably support an inference,
however, that Paulsen knew Plaintiff was in need of emergency care or was going to suffer
serious harm absent an immediate, ambulance transport to Summit Medical, and that she

knowingly disregarded that risk. Thus, Paulsen is entitled to summary judgment.

20

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 21 of 23

B. Paulsen is Entitled to Qualified Immunity

Although the above demonstrates there is no violation of the Constitution, which alone
entitles Paulsen to qualified immunity, there is an additional, equally important reason why
Paulsen should be granted such immunity. This reason is the lack of clearly established law in
2003 that would instruct a nurse, when confronted with vague symptoms, what course of
treatment would be considered unconstitutional. As Paulsen details in her summary judgment
brief, in 2003 the law was clearly established that a failure to treat an obvious serious medical
need was unlawful. (Paulsen Br. in Support of Mot. for S.J., at 27-30). The law was not clearly
established, however, regarding the legality of what treatment decisions to make when
confronted with vague symptoms, (Sce id.). Plaintiff cites no case law in his Response showing
that the law was clearly established for such scenarios.

Further, another dimension to the qualified immunity analysis is whether Paulsen acted
reasonably, but perhaps mistakenly, in making her treatment decisions of Plaintiff. As explained
in Saucier v. Katz, 533 U.S. 194, 205 (2001), even if the law is clearly established, an official
will be entitled to qualified immunity if he acts under the reasonable but mistaken conclusion as
to what the law requires. (Paulsen Br. In Support of Mot. for $,J., at 27-28). Although Plaintiff
contends that Saucier is inapplicable because it concerns the Fourth Amendment, rather than the
Eighth Amendment (P1.’s Resp., at 30, n. 1), other cases have applied its principles in the Eighth
Amendment context. See Hope v. Pelzer, 536 U.S. at 739; Estate of Ford v. Ramirez-Palmer,
301 F.3d 1043 (9" Cir, 2002).

Thus, Nurse Paulsen’s conclusions, even if mistaken, about the seriousness of Plaintiff's

condition entitle her to qualified immunity if they are reasonable. The varying opinions of the

21

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Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 22 of 23

medical experts regarding whether or when it was possible to diagnose Plaintiff prospectively for
his very rare pneumonia show that Paulsen’s evaluation of Plaintiff was reasonable. (See Dr.
Donald H. Kearns, M.D., Expert Report, Paulsen Exh. A-13, at 2; Dr. Ivor Garlick, MD, CCHP’s
Expert Report, Paulsen Exh, A-14, at 4; Expert Report of Elizabeth Kraft, M.D., Paulsen Exh, A-
15, at 4). For this additional reason, she is entitled to qualified immunity from Plaintiffs claim.®
CONCLUSION

The undisputed evidence demonstrates that Nurse Paulsen did not act with deliberate
indifference to Plaintiff's medical condition, and therefore did not have the culpable state of
mind that is required to find her liable under § 1983. In addition, Paulsen is entitled to qualified
immunity from Plaintiff's claims. Accordingly, Defendant Vicki Paulsen respectfully requests
that the Court GRANT her Motion for Summary Judgment and dismiss Plaintiffs claims against
her.

Respectfully submitted: February 15, 2007

s/ Melanie B. Lewis

 

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$ Plaintiff challenges the admissibility of these expert reports based on hearsay. To remedy this

technical flaw, Paulsen attaches the Declaration of Dr. Kearns verifying his report. (See Paulsen Exh, A-
25). Paulsen is obtaining similar declarations from Dr. Kraft and Dr. Garlick, and will supplement this
reply with the declarations on their receipt.

22

 
Case 1:05-cv-00377-WDM-BNB Document 167 Filed 02/15/07 USDC Colorado Page 23 of 23

CERTIFICATE OF SERVICE

I hereby certify that on February 15, 2007, I electronically filed the foregoing
DEFENDANT VICKI PAULSEN’S REPLY IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT with the Clerk of the Court using the CM/ECF system which will
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23

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